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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      Case No. 18-24190-CIV-SMITH

   WILLIAM O. FULLER, and
   MARTIN PINILLA, II,

              Plaintiffs,

   v.

   JOE CAROLLO,

              Defendant.
                                                               /

      DEFENDANT, JOE CAROLLO’S MOTION TO DISSOLVE CONTINUING WRIT OF
   GARNISHMENT AGAINST SALARY OR WAGES OF JOSEPH X. CAROLLO TO THE CITY
                                 OF MIAMI

             Defendant, Joe Carollo (“Defendant”), by and through his undersigned counsel, pursuant

  to Chapter 77 and Section 222.11 of the Florida Statutes, hereby files his Motion to Dissolve the

  Continuing Writ of Garnishment Against Salary or Wages of Joseph X. Carollo to the City of

  Miami (ECF 587), and states as follows.

        I.       Background

             On July 6, 2023, Plaintiffs, William O. Fuller and Martin Pinilla, II (“Plaintiffs”) filed their

  Motion for Issuance of Continuing Writ of Garnishment Against Salary or Wages of Joe Carollo

  to the City of Miami (the “City”) (ECF 511) (“Plaintiffs’ Motion for Continuing Writ of

  Garnishment”).

             On July 12, 2023, Defendant filed his Claim of Exemption and Request for Hearing (ECF

  518).

             On November 22, 2023, an Order was entered granting Plaintiffs’ Motion for Continuing

  Writ of Garnishment, denying, as withdrawn, Plaintiffs’ Motion to Strike Defendant’s Claim of

  Exemption and Request for Hearing, or in the Alternative, Motion for Extension of Time to

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  Respond, and providing that once the Continuing Writ of Garnishment issued, the Magistrate

  Judge will set an evidentiary hearing on Defendant’s Claim of Exemption (ECF 585).

           On November 28, 2023 the Clerk issued the Continuing Writ of Garnishment Against

  Salary or Wages of Joseph X. Carollo to the City of Miami (ECF 587) (the “Continuing Writ of

  Garnishment”).

           The City filed its Answer to the Continuing Writ of Garnishment on December 14, 2023

  (ECF 594), and Plaintiffs filed their Reply to the City’s Answer on December 19, 2023 (ECF 595).

     II.           The Continuing Writ of Garnishment Should be Dissolved

               a. The Continuing Writ of Garnishment to the City should be dissolved because
                  Defendant is the head of family
           The Continuing Writ of Garnishment to the City should be dissolved because Defendant is

  entitled to exemption from garnishment as the head of family pursuant to Florida Statutes Section

  222.11.

           Defendant is entitled to exemption from garnishment because he is the head of his family

  in that Defendant is providing more than one-half of the support for his wife, Marjorie Carollo, as

  of the issuance of the Continuing Writ of Garnishment.

            Under Florida law, a debtor’s support of a dependent entitles the debtor to claim the “head

  of family” exemption. See Florida Statutes § 222.11(1)(c) (“‘Head of family’ includes any natural

  person who is providing more than one-half of the support for a child or other dependent.”). The

  statute makes clear that, “[d]isposable earnings of a head of a family, which are greater than $750

  a week, may not be attached or garnished unless such person has agreed otherwise in writing.” See

  Florida Statutes § 222.11(2)(b).

            In accordance with the express statutory language, Defendant filed his Claim of Exemption

  averring, in part, that he is the “head of family”:

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         I claim exemptions from garnishment under the following categories as checked:

                 1. Head of family wages. (Check either a. or b. below, if applicable.)
                      b. I provide more than one-half of the support for a child or other dependent,
                 have net earnings of more than $750 per week, but have not agreed in writing to
                 have my wages garnished.
  See ECF 518-1 at 1.
         Pursuant to the express language of the statute, Defendant qualifies for the statutory “head

  of family” exemption because he provides “more than one-half of the support” for his “child or

  other dependent”, to wit, his spouse. See Florida Statutes § 222.11(1)(c).

         The term, “other dependent” includes the debtor’s spouse. See, e.g., Ulisano v. Ulisano,

  154 So. 3d 507, 508 (Fla. 4th DCA 2015). In Ulisano, the trial court dissolved a writ of

  garnishment based on evidence that the debtor was providing more than one-half of the support of

  “three dependents: a seven year old child, an eighteen year old child, and an unemployed spouse.”

  Id. The appellate court affirmed the trial court’s order dissolving the writ of garnishment pursuant

  to Florida Statutes § 221.11. Ulisano, 154 So. 3d at 508-509. As in Ulisano, in this case, Defendant

  is the primary source of income and support for his spouse. Plaintiffs’ assertion objecting to

  Defendant’s wife as a dependent is unsupported and contrary to Florida law. See ECF 529 at 1.

         In considering the definition of “head of family”, the court has an “obligation to construe

  section 222.11 liberally in favor of the debtor”. Mazzella v. Boinis, 617 So. 2d 1156, 1157 (Fla.

  4th DCA 1993). The Mazzella court explained that, “[t]he supreme court has held that the

  exemption is for the benefit of the debtor, and should be liberally construed in the debtor’s favor.”

  Id. at 1157 (citations omitted). See also Castro v. Mercantil Commercebank, N.A., 305 So. 3d 623,

  625 (Fla. 3d DCA 2020) (citations omitted) (“The head of family exemption is designed to ‘protect

  citizens against financial reverses and difficulties and to permit the citizen when residing in Florida

  and head of a family to be secure in money coming to him for his labor and services thereby

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  supporting his family and preventing it from becoming a public charge.’ Therefore, the exemption

  should be liberally construed in favor of the debtor.”); Maryl v. Hernandez, 254 So. 2d 47, 49 (Fla.

  3d DCA 1971) (citation omitted) (“The section providing for exemption for the head of a family

  of his wages from garnishment expresses a public policy of the State of Florida and must be

  liberally construed in order to effect the purpose of the statute which is to preserve to the

  unfortunate debtor and his family a means of living without becoming charges upon the public.”).

         The Florida Supreme Court has explained that, “[i]n determining the meaning of family

  headship, the courts of this state have adopted two alternatives by which a person claiming

  exemption must show either: (1) a legal duty to maintain arising out of the family relationship at

  law; and/or (2) continuing communal living by at least two persons with one person recognized as

  being in charge.” Killian v. Lawson, 387 So. 2d 960, 962 (Fla. 1980). Moreover, courts recognize

  that, “[i]t is not necessary that the head of the family have a legal obligation to support, as moral

  obligation is sufficient.” Vandiver v. Vincent, 139 So. 2d 704, 709 (Fla. 2d DCA 1962).

         Accordingly, Defendant is entitled to exemption from garnishment because he is the head

  of his family in that Defendant is providing more than one-half of the support for his wife, Marjorie

  Carollo, as of the issuance of the Continuing Writ of Garnishment, as set forth in Defendant’s

  previous filings.1




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   See Defendant’s Claim of Exemption and Request for Hearing (ECF 518), Defendant’s Response
  to and Motion to Quash Plaintiffs’ Motion for Issuance of Continuing Writ of Garnishment Against
  Salary or Wages of Joe Carollo and Plaintiffs’ Motion for Writ of Execution (ECF 533), and
  Defendant’s Response in Opposition to Plaintiffs’ Motion to Strike Defendant’s Claim of
  Exemption and Request for Hearing, or in the Alternative, Motion for Extension of Time to
  Respond, and his Response in Opposition to Plaintiffs’ Sworn Written Objections to Defendant’s
  Claim of Exemption and Request for Hearing (ECF 545), which are incorporated herein.
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      III.      Request for Evidentiary Hearing on Defendant’s Claim of Exemption

             Defendant reiterates the request for an evidentiary hearing on his claim for exemption as

  the head of family.

             Accordingly, Defendant requests that the Court set an evidentiary hearing on Defendant’s

  Claim of Exemption.

                                        CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on this 4th day of January, 2024, I electronically filed the foregoing

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record in this case.

                                                          Respectfully submitted,

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                                                          And



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